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MEMO ENDORSED                                 October 30, 2024             USDC SDNY
                                                                           DOCUMENT
                                                                           ELECTRONICALLY FILED
 VIA ECF                                                                   DOC #:
                                                                           DATE FILED: 10/31/2024
 Honorable Valerie E. Caproni
 United States District Judge
 United States District Court
 Southern District of New York
 40 Foley Square
 New York, New York 10007

                                              Re:    Robles v. MNG Missouri Holdings LLC
                                                     1:24-cv-07521-VEC

 Dear Judge Caproni:

         We represent Plaintiff Primitivo Robles in connection with the above referenced matter. As
 the parties are currently in contact regarding potential resolution of this matter, we write with
 consent and on behalf of Defendant, MNG Missouri Holdings LLC (“Defendant”) to respectfully
 request an adjournment of Defendant’s time to respond to the Complaint from November 1, 2024
 to December 15, 2024. This is the first request for an adjournment of Defendant’s time to respond
 to the Complaint, and there are no other upcoming deadlines.

                                              Respectfully submitted,

                                              JOSEPH & NORINSBERG, LLC




                                              Jon L. Norinsberg, Esq.



 cc:    Allie Faver, Esq., allie@mngcity.com (via electronic mail)
        Counsel for Defendants
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Application DENIED AS MOOT. Consistent with Paragraph 1 of the Notice of Initial Pretrial
Conference (Dkt. 5), Defendants' time to move or answer the Complaint is stayed until the date of the
initial pretrial conference (February 7, 2025). The parties are advised to review all orders entered in
this case.

SO ORDERED.


                                10/31/2024

HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
